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PAULA K. SMITH
SENIOR ASSISTANT ATTORNEY GENERAL
CRIMINAL LAW SECTION CHIEF
GEORGIA DEPARTMENT OF LAW
40 CAPITOL SQUARE, SW
ATLANTA, GEORGIA 30334
PHONE: 404 458-3288
GA BAR NO. 662160
ADMITTED TO APPEAR PRO HAC VICE
   FOR INTERVENOR TIMOTHY WARD,
   GA COMM’R OF CORRECTIONS


                    UNITED STATES DISTRICT COURT

                           DISTRICT OF ARIZONA

JAMIL ADDULLAH AL-AMIN,                 *     No. CV 21-00200-TUC-JCH (MSA)
                                        *
      Petitioner,                       *
                                        *     HABEAS CORPUS
                                        *     28 U.S.C. § 2254
V.                                      *
                                        *     MOTION OF COMMISSIONER
WARDEN, FCI-Tucson,                     *     TIMOTHY WARD, GA DEP’T OF
                                        *     CORRECTIONS, TO INTERVENE
      Respondent.                       *     AS A PARTY RESPONDENT


      Commissioner Timothy Ward of the Georgia Department of Corrections, by

and through undersigned counsel, makes this his motion to intervene and be added

as a party Respondent to defend this challenge to Petitioner’s continued

confinement on his Fulton County, Georgia, convictions and sentences, by

showing and stating as follows:

                                         1.

      Petitioner Al-Amin is currently incarcerated in a federal prison pursuant to
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an agreement between the Georgia Department of Corrections (“DOC”) and

federal authorities to serve his Fulton County, Georgia, convictions and sentences

arising from a jury trial in March 2002. See Al-Amin v. State, 278 Ga. 74, 597

S.E.2d 332, cert. denied, 543 U.S. 992 (2004). At the March 2002 jury trial where

the death penalty was sought, Petitioner was found guilty of malice murder and the

jury sentenced him to life without parole; he was also found guilty of obstruction

of a law enforcement officer, aggravated battery on a peace officer, and two counts

of possession of a firearm during the commission of a felony, for which he

received an aggregate of thirty years to serve consecutively to the sentence of life

without parole. Id. After these convictions were affirmed on direct appeal in Al-

Amin v. State, 278 Ga. at 74, he challenged them in both a state collateral attack

and in a 28 U.S.C. § 2254 habeas corpus proceeding, Al-Amin v. Warden, Ga.

Dep’t of Corr., 932 F.3d 1291 (11th Cir. 2019), cert. denied, sub nom., Al-Amin v.

Ward, ___ U.S. ___, 140 S.Ct. 2640 (2020). He has a second state collateral attack

pending in the Georgia courts in which he is again challenging these convictions,

Al-Amin v. State of Georgia, et al., Civil Action No. HC00999 (Fulton Super. Ct.,

filed Nov. 2016), in which a hearing is currently set for January 25, 2022. He is

represented in that case by the same pro bono counsel who represented him in his

prior state and federal collateral attacks.




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                                          2.

      Petitioner filed this petition pro se, his second filed under 28 U.S.C. § 2254,

in which he alleges that his current and future confinement present risks of

“irreparable injury or death” due to the Covid-19 pandemic, these risks purportedly

cannot be remedied by anything else except release from confinement, and that his

continued confinement would impose “cruel and unusual punishment” that was not

initially imposed on him and “impede [his] Fifth Amendment liberty guarantees

under these unforeseen circumstances.” (Doc. 10 at 6). In the screening order, this

Court noted it had sanctioned this petition as filed under 28 U.S.C. § 2254 and

substituted his actual custodian, the Warden at FCI-Tucson, as the party

Respondent. (Doc. 17 at 2, 3).

                                          3.

      Commissioner Ward of the Georgia DOC moves to intervene and be added

as a party respondent to defend the interests of the State of Georgia in this case.

Rule 2(a) of the Rules Governing Section 2254 Cases requires the petitioner to

name the state officer having custody of him as the party respondent. See, e.g.,

Belgarde v. Montana, 123 F.3d 1210, 1212 (9th Cir. 1997). That typically is the

warden of the institution where the petitioner is housed. Id. Here, however,

Petitioner is in the unusual situation of being in federal custody for the purpose of

serving his State of Georgia sentences. This not a “future custody” situation that


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would require a state’s attorney general to be named as a party under Rule 2(a),

which was the flaw in Belgarde where the petitioner named his actual custodian

but failed to name the attorney general of the state from which the future

conviction(s) arose. See Smith v. Idaho, 392 F.3d 350 355 n.3 (9th Cir. 2004).

                                         4.

      Petitioner seeks release from confinement in the federal facility where he is

currently housed and properly named the Warden at FCI-Tucson, his actual

custodian, as a party respondent, particularly given his challenge to the conditions

of that confinement. But Petitioner also seeks release from confinement on a state

court judgment, and that raises the question of whether the Warden at FCI-Tucson

is the sole authority who can order his release or whether a Georgia state officer

should be added as a party respondent. Id. The Commissioner is Petitioner’s state

custodian in this unusual scenario.

                                         5.

      The Commissioner is the chief officer in charge of state penal institutions in

Georgia and is charged with supervising, directing and executing the functions

vested in the DOC. See O.C.G.A. § 42-2-6. DOC is also charged under state law

with defending habeas corpus cases instituted by or on behalf of a petitioner where

the petitioner is in DOC’s custody. See, e.g., Wiggins v. Lemley, 256 Ga. 152, 345

S.E.2d 584 (1986).


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                                              6.

      The Commissioner (or a DOC warden) has defended Petitioner’s prior state

and federal habeas corpus cases challenging his Fulton County convictions and

sentences, even after Petitioner was transferred through an agreement with federal

authorities to a federal facility to continue serving these sentences. 1 In addition,

the Commissioner has sought to leave to intervene in Petitioner’s pending second

state collateral attack on his convictions.

                                              7.

      For all these reasons, the Commissioner seeks leave to intervene as a party

Respondent. He is simultaneously filing responsive pleadings.




1 According to the DOC’s website, Petitioner Al-Amin (GDC # 1104651) began
serving his Fulton sentences in DOC’s custody on March 14, 2002; his status is
listed as “active” and that he is “currently serving” these sentences. He was in
DOC custody when he filed his original state habeas corpus case in 2005, Al-Amin
v. Smith, Warden, No. 05-HC-6 (Tattnall Super. Ct. July 28, 2011) (unreported),
and was transferred after the hearings in that case to the Administrative Maximum
Security Prison (“Supermax) in Florence, Colorado. He is currently incarcerated at
the USP at Tucson.
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                                  CONCLUSION

      WHEREFORE, Commissioner Ward prays that the Court grant him leave to

intervene as a party Respondent in this case.

                                       Respectfully submitted,


                                       s/Paula K. Smith__________________
                                       PAULA K. SMITH Ga. Bar 662160
                                       Senior Assistant Attorney General




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                          CERTIFICATE OF SERVICE

      I do hereby certify that on January 28, 2022, I electronically transmitted the

attached document to the Clerk’s Office using the CM/ECF System for filing and

transmittal of a Notice of Electronic Filing to the following CM-ECF registrants:

                   Jamil Addullah Al-Amin
                   Fed. Reg. No. #99974-555
                   USP Tucson
                   PO Box 24550
                   Tucson, AZ 24550
                   Petitioner Pro se

                   Gary M. Restaino
                   United States Attorney
                   District of Arizona
                   Michael Linton
                   Assistant United States Attorney
                   United States Courthouse
                   405 W Congress Street, Suite 4800
                   Tucson, Arizona 85701
                   Attorneys for Respondent

                                       s/Paula K. Smith________________
                                       PAULA K. SMITH
                                       Senior Assistant Attorney General




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                     UNITED STATES DISTRICT COURT

                           DISTRICT OF ARIZONA

JAMIL ADDULLAH AL-AMIN,                *    No. CV 21-200-TUC-JCH (MSA)
                                       *
      Petitioner,                      *
                                       *
V.                                     *    ORDER
                                       *
WARDEN, FCI-Tucson,                    *
                                       *
      Respondent.                      *

     Upon consideration of the motion of Commissioner Timothy Ward of the
Georgia Department of Corrections to intervene as a party Respondent, and for
good cause appearing,
     IT IS ORDERED that Commissioner Ward’s motion to intervene is
GRANTED.
     Dated this ___ day of _____________________, 2022.



                                    _________________________________
                                      Honorable Maria S. Aguilera
                                      United States Magistrate Judge

Prepared by:
Paula K. Smith
Senior Assistant Attorney General
Georgia Department of Law
40 Capitol Square, S. W.
Atlanta, Georgia 30334-1300
Telephone: (404) 458-3288
psmith@law.ga.gov



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